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                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                           BOWLING GREEN DIVISION
                   CRIMINAL ACTION NO. 1:20-CR-00022-GNS-HBB-1

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.

JASON ZABEL                                                                     DEFENDANT

                        MEMORANDUM OPINION AND ORDER

       This matter is before the Court on Defendant’s Objection (DN 29) to the Magistrate

Judge’s Findings of Fact, Conclusions of Law, and Recommendation (DN 28) that Defendant’s

Motion to Suppress (DN 20) be granted in part and denied in part. For the reasons stated below,

the objection is OVERRULED.

                                   I.     BACKGROUND

       Defendant Jason Zabel (“Zabel”) was indicted by a federal grand jury on one count of

abusive sexual conduct at Mammoth Cave National Park. (Indictment 1, DN 8; Criminal Compl.

1, DN 1). As alleged in the Criminal Complaint, Zabel was in an elevator with the victim on

August 4, 2020, when he touched victim’s covered buttocks, attempted to kiss her, and exposed

his penis. (Criminal Compl. 1). Zabel allegedly admitted that he touched the victim’s buttocks,

stood close to her, and exposed himself. (Criminal Compl. 1).

       After the alleged crime was reported, two U.S. Park Rangers spoke with Zabel while in

Mammoth Cave. In Zabel’s motion, he seeks to suppress the statements he made to the Park

Rangers, which were recorded on one of the Park Ranger’s body cameras. (Def.’s Mot. Suppress

1-2, DN 20).

       Because the parties agreed that an evidentiary hearing was unnecessary, the Magistrate

Judge issued the Findings of Fact, Conclusions of Law, and Recommendation (“R&R”) based



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solely on the parties’ arguments and the DVD of the interrogation recorded by the body camera.

(R. & R. 1, DN 28). Considering all of the circumstances of the interrogation, the Magistrate

Judge concluded that Zabel was not in custody and a Miranda warning was not required before

Zabel had made any incriminating statements. (R. & R. 5-6). Thus, the Magistrate Judge

recommended the denial of the motion as to Zabel’s statements during the interview but

recommended the granting of the motion as to any statements made by Zabel on the way to the

surface while he was in custody before being advised of his Miranda rights. (R. & R. 6-7). Zabel

has objected to the R&R as to the admissibility of the statements made during the interview.

(Def.’s Obj. 3-7, DN 29).

                              II.    STANDARD OF REVIEW

       When ruling on an objection to a magistrate judge’s report and recommendation of

disposition on a Defendant’s motion to suppress evidence, the Court conducts a de novo review.

See 28 U.S.C. §§ 636(b)(1)(A), (B); United States v. Curtis, 237 F.3d 598, 602 (6th Cir. 2004).

                                     III.   DISCUSSION

       Under the Fifth Amendment to the U.S. Constitution, “[n]o person shall be compelled in

any criminal case to be a witness against himself.” U.S. Const. amend. V. In Miranda v.

Arizona, 384 U.S. 436 (1966), the Supreme Court, in prescribing safeguards for the effectuation

of the Fifth Amendment, held that “the prosecution may not use statements . . . stemming from

custodial interrogation of the defendant unless it demonstrates the use of procedural safeguards

effective to secure the privilege against self-incrimination.”    Id. at 444.    The safeguards

“prescribed by Miranda are to ensure that the police do not coerce or trick captive suspects into

confessing . . . .” Berkemer v. McCarty, 468 U.S. 420, 433 (1984). If a suspect is interrogated




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while in custody and he does not voluntarily, knowingly, and intelligently waive his Miranda

rights, any statements he makes to the police must be suppressed. See id. at 429.

       As the Sixth Circuit recently explained:

       “In determining whether a person is ‘in custody’ for purposes of Miranda, courts
       look to ‘the objective circumstances of the interrogation to determine how a
       reasonable person in the position of the individual being questioned would gauge
       the breadth of his or her freedom of action.’” “The ultimate inquiry is whether,
       under the totality of the circumstances, the interviewee’s freedom of movement
       was restrained to a degree associated with formal arrest.” Courts consider several
       factors when making this determination, including where the questioning took
       place, the length and manner of the questioning, whether there was any restraint
       on the individual’s freedom to move, and whether the individual was told that he
       needed to answer the questions.

United States v. Cantie, No. 20-3151, 2021 WL 79805, at *3 (6th Cir. Jan. 11, 2021) (internal

citations omitted) (quoting United States v. Hinojosa, 606 F.3d 875, 883 (6th Cir. 2010)); see

also Rhode Island v. Innis, 446 U.S. 291, 301 (1980) (noting that an interrogation includes “not

only . . . express questioning, but also . . . any words or actions on the part of the [law

enforcement] (other than those normally attendant to arrest and custody) that the [law

enforcement] should know are reasonably likely to elicit an incriminating response.”). As the

Sixth Circuit has noted, “[w]hether investigators inform a suspect that he is free to leave or to

refuse to answer questions is the most important consideration in the Miranda custody analysis.”

United States v. Martinez, 795 F. App’x 367, 371 (6th Cir. 2019) (citing Howes v. Fields, 565

U.S. 499, 515 (2012)).

       While the parties cite to cases applying different factors, the focus is still ultimately the

same—the totality of the circumstances. See Cantie, 2021 WL 79805, at *3. In his Objection,

Zabel specifically focuses on the location of his interview by the Park Rangers and whether his

freedom of movement was restrained by them in arguing that the incriminating statements should

be suppressed. (Def.’s Obj. 3-7).



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       While Zabel contests the characterization that Mammoth Cave was his workplace, the

parties agree that Zabel was working for a contractor performing work within Mammoth Cave

when he was approached by the Park Rangers. As Zabel noted during the interview, he had been

working in Mammoth Cave since January before the alleged crime in August 2020. (Pl.’s Resp.

Def.’s Mot. Suppress Ex. A, at 21:40-21:48, DN 24). Thus, Zabel was familiar with Mammoth

Cave as his worksite.

       When the Park Rangers approached Zabel, he was with a group of his co-workers, and

the Park Rangers asked for Zabel by his first name. (Pl.’s Resp. Def.’s Mot. Suppress Ex. A, at

4:18-4:25). After Zabel identified himself, the Park Rangers asked to speak with him and then

led him away from the group to an area where they could speak in private. (Pl.’s Resp. Def.’s

Mot. Suppress Ex. A, at 4:25-5:43). One of the Park Rangers informed Zabel that he was not

under arrest, did not have any outstanding warrants, was free to go, and did not have to answer

their questions. (Pl.’s Resp. Def.’s Mot. Suppress Ex. A, at 6:29-7:14). During the interview,

they stood on different sides of the passageway, and Zabel was not handcuffed. While the

questioning was direct and pointed as to the accusations that had been made by the victim, the

Park Rangers’ questioning of Zabel was not hostile.

       While the Park Rangers did deny Zabel’s several requests to use the bathroom during the

interview, that fact alone does not support a finding that he was in custody. See Martinez, 795 F.

App’x at 376 (noting that allowing the interviewee to use the bathroom following the completion

of the interview but before arrested weighed against a finding that the interviewee was in

custody). Following the completion of the interview, the Park Rangers told him that they would

take him to a bathroom. (Pl.’s Resp. Def.’s Mot. Suppress Ex. A, at 22:25-22:30).




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       Based on the totality of the circumstances, Zabel was not in custody during the interview,

and Park Rangers were not required to provide him the Miranda warning before questioning.

See United States v. Assante, 979 F. Supp. 2d 756, 760 (W.D. Ky. 2013) (“[T]he Court finds that

Defendant was not in custody when the agents spoke to him at his place of employment.

Defendant was never advised that he was under arrest and there is no indication that Defendant’s

freedom of movement was restrained. Furthermore, the place of the questioning was not hostile

or coercive. The questioning took place in a break room at Defendant’s place of employment

with the door unlocked. The interview lasted only a few minutes.” (internal citation omitted));

see United States v. Mahan, 190 F.3d 416 423 (6th Cir. 1999) (noting that the statement was

made without coercion when the defendant was not arrested or threatened with arrest, was

interviewed in an unlocked room at his workplace, was never told he could not leave, and was

made during an interview lasting about 90 minutes). Accordingly, Zabel’s motion will be denied

in part on this basis, and his objection will be overruled.

                                      IV.     CONCLUSION

       For the foregoing reasons, IT IS HEREBY ORDERED that Defendant’s Objection (DN

29) is OVERRULED, the Magistrate Judge’s Findings of Fact, Conclusions of Law, and

Recommendation (DN 28) is ACCEPTED AND ADOPTED IN ITS ENTIRETY, and

Defendant’s Motion to Suppress (DN 20) is GRANTED IN PART and DENIED IN PART.




                                                                 March 4, 2021


cc:    counsel of record




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